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                                         COURTROOM MINUTE SHEET

                                                                                    DATE         12-13-2021


CIVIL NO.         CIV-21-1136      –F

                                            State of Oklahoma, et al.
                                                        -vs-
              Joseph R. Biden, Jr., in his official capacity as President of the United States, et al.


COMMENCED               4:00         ENDED      4:20                 TOTAL TIME            20 min.

PROCEEDINGS                Telephonic status/scheduling conference


JUDGE STEPHEN P. FRIOT                  DEPUTY LORI GRAY                REPORTER

PLF COUNSEL Mithun Mansinghani, Christopher Bartolomucci, Riddhi Dasgupta

DFT COUNSEL Steven Myers, Andrew Carmichael


The court holds a status/scheduling conference with counsel with respect to scheduling matters regarding
Plaintiffs’ Emergency Motions for Temporary Restraining Order and Preliminary Injunction (doc. no. 9).

The court sets an evidentiary hearing on the motion for preliminary injunction on December 30, 2021, at
9:00 a.m. Witnesses will be permitted to appear via VTC (by pre-arrangement with the courtroom deputy),
but attorneys participating in the hearing will be required to appear in person.

Plaintiffs are permitted to file a supplement to their motion not later than 5:00 p.m. CST on December 15,
2021.

Defendants’ response to the motion shall be filed not later than December 22, 2021. Defendants are
granted leave to file a brief of no more than 40 pages in length.

The parties shall file their witness and exhibit lists for the hearing not later than noon on December 27, 2021.
The witness lists must include, for each witness, a concise description of the testimony expected from the
witness.

By the end of the day on December 23 – after the court has had a chance to review the briefs – the court
will advise the parties as to whether the December 30 hearing will be necessary. At the hearing, if one is
held, the parties will be expected to present such evidence and argument as they may consider to be
necessary or advisable in support of and in opposition to the motion for preliminary injunction.



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